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                                                                     Settlement/Hearing Date: May 23rd, 2018
                                                                     Time: 10:30 A.M.
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
IN RE:                                                               Chapter 13
                                                                     Case No. 15-22732 RDD
ROY ALBERS,

                                                                     NOTICE OF SETTLEMENT
                                         Debtor
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

                    PLEASE TAKE NOTICE, that an Order, a true copy of which is annexed

hereto, will be presented for signature to the Hon. Robert D. Drain, United States Bankruptcy

Judge, on the 23rd day of May, 2018 at 10:30 A.M. in the Judge's Chambers, United States

Bankruptcy Court, 300 Quarropas Street, White Plains, New York.

                    PLEASE TAKE FURTHER NOTICE , that Hearings on Objections, if any, to

be conducted same place, date and time. Written objections or counterorders, must be submitted

to chambers no later than close of business three (3) days prior to settlement.

Dated: White Plains, New York
       April 11th, 2018
                                                                      /s/ Krista M. Preuss
                                                                     Krista M. Preuss (KMP7299)
                                                                     Chapter 13 Trustee
                                                                     399 Knollwood Road
                                                                     White Plains, New York 10603
                                                                     Chapter 13 Tel. 914-328-6333

TO:       Roy Albers
          11 Flanders Lane
          Cortlandt, New York 10567

          H Bruce Bronson, Jr., Esq.
          480 Mamaroneck Avenue
          Harrison, New York 10528
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
IN RE:
                                                                   Chapter 13
                                                                   Case No. 15-22732 RDD
ROY ALBERS,


                                                    Debtor
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

                              ORDER DISMISSING CHAPTER 13 CASE

          The chapter 13 trustee having moved, on due notice, for an order dismissing this chapter 13

case; and, upon the motion and the record of the May 23, 2018 hearing thereon, the Court having

found that the above-captioned debtor has failed to comply with 11 U.S.C. §1307(c )(1) and (c )(6)

and the Order Confirming Plan dated November 16, 2017 directing the debtor to remit monthly

payments according to the chapter 13 plan, and the debtor failing to comply therewith, and being at

this time in material arrears with plan payments to the trustee; and good cause appearing,

          IT IS ORDERED THAT:

          This chapter 13 case is hereby dismissed. The chapter 13 trustee shall take all actions

required by the dismissal of this case

Dated: White Plains, New York
       May                    , 2018
                                                             _____________________________________
                                                             UNITED STATES BANKRUPTCY JUDGE
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
IN RE:
                                                                   Chapter 13
                                                                   Case No. 15-22732 RDD
ROY ALBERS,

                                                                   TRUSTEE’S AFFIDAVIT
                                                    Debtor
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
STATE OF NEW YORK                             )
COUNTY OF WESTCHESTER ) ss.:

                    Krista M. Preuss, being duly sworn, deposes and says:

                    1.        She is the standing Chapter 13 Trustee.

                    2.        The debtor filed a Chapter 13 proceeding on May 23rd, 2015.

                    3.        The debtor failed to comply with the provisions of 11 U.S.C. §1307 (c ) (1)

and (c )(6).

                    4.        The debtor has failed to comply with the Order Confirming Plan dated

November 16th , 2017 whereby the debtor must remit monthly payments to the trustee in the sum of

$500.00 for 21 months and $225.00 for 39 months plus tax refunds in excess of $1,500.00 for the

duration of the plan.

                    5.        The debtor has paid the trustee to date the sum of $12,300.00.

                    6.        The debtor is $1,125.00 in arrears in plan payments to the trustee.

                    7.        There exists a material default in this confirmed plan.

                    8.        The delay created by the debtor is prejudicial to creditors.
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               WHEREFORE, the trustee respectfully requests that the annexed order dismissing

this case, be signed.

                                                                /s/ Krista M. Preuss
                                                                Krista M. Preuss
Sworn to before me this
11th   day of April, 2018

/s/ Jody L. Kava
Jody L. Kava
Notary Public, State of New York
No. 02KA4836806
Qualified in Westchester County
Term Expires: 10/31/21
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
IN RE:                                                                  Chapter 13
                                                                        Case No. 15-22732 RDD
ROY ALBERS,

                                                    Debtor
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x


                                        CERTIFICATE OF SERVICE


                    Lois Rosemarie Esposito, hereby certifies:

                    I am not a party to the action herein, I am over the age of 18 years and reside in

the County of Westchester , State of New York.

                    On April 11th, 2018 I served a true copy of the within document, to the herein

listed parties at the address(es) designated for that purpose, by mailing same in a properly sealed

envelope with postage prepaid thereon, in an official depository of the United States Postal

Service within the State of New York to the following:

TO:       Roy Albers
          11 Flanders Lane
          Cortlandt, New York 10567

          H Bruce Bronson, Jr., Esq.
          480 Mamaroneck Avenue
          Harrison, New York 10528

                                                                            /s/ Lois Rosemarie Esposito
                                                                                Lois Rosemarie Esposito
